                   Case 2:14-cr-00012-LGW-BWC Document 669 Filed 06/16/15 Page 1 of 1
A0247(10/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(cX2)                             Page 1 of 2 (Page 2 Not for Public Disclosure)




                                                              UNITED STATES DISTRICT COURT
                                                                                    for the
                                                                          Brunswick Division
                       United States of America                                  )
                                        V.                                            )
                              Contory Kennedy                                         ) Case No: 2: l4CR00012-1 I
                                                                                      ) USMNo: 18875-021
Date of Original Judgment:         February 18, 2015                                  ) James A. Yancey, Jr.
Date of Previous Amended Judgment: Not Applicable                                     ) Defendant's Attorney
(Use Date of Last Amended Judgment, if any)



                                         Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(e)(2)


         Upon motion of        the defendant Ethe Director of the Bureau of Prisons Ethe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § lB 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3 553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
RX DENiED. GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last Judgment
             issued) of        months is reduced to


                                                   (Complete Parts land II of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated                                            shall remain in effect.
IT IS SO ORDERED.                                                                              /

Order Date:              June 16, 2015
                                                                                                           Judge s signature


                                                                                          L1SA 9ODBEY WOOD, CHIEF JUDGE
                                                                                          U1WP1D STATES DISTRICT COURT
Effective Date: November 1. 2015                                                          SOUTHERN DISTRICT OF GEORGIA
                         (if different from order date)                                                  Printed name and title
